 

Case 2:18-cV-00199-CB Document 3 Filed 02/26/18 Page 1 of 1

AO 399 (0] '09) Waiver ofihe Service of Suminons

UNITED STATES DISTRICT COURT

for the
Wesiern District of Pennsylvania

So_uroth Ch_atterji
Pi'ai`iirrj`
v.
C_ityr MM_rgh and Linda Barone_
chfendani

Civil Action No. 2218-CV-00199-CB

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WAIVER OF THE SERVlCE OF SUMMONS

To: mcnmm=n.a§p.amsaam,om¢amm /»§~/'ec. L/rr€,£t`i"

(Naiire of die piuiiinjg" s nt!vi‘iiev or unrepresented plairiri§)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity [ represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity l represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

I also understand that l, or the entity l represent, must file and serve an answer or a motion under Rule 12 within
60 days from 02)'20/2018 , the date when this request Was sent (or 90 days if it was sent outside the
United States). If l fail to do so, a default judgment will be entered again me or the entity l represent.

ss a /aB;/S/ 5 /%M

Sigrratiirc ofilic attorney or unrepresented party

Z_,`ndo\ _Bd`f`orec_.- ji/ia.‘i'*i‘€cv.~) _/"i¢.ii¢i\.€,_

P_r hired name of party arriving service of summons Priiited_ name

 

 

Address

E-maii address

Teleplioiie number

 

Duty to Avoid Unnccessary Expenses ol' Serving a Summons

Rtile 4 ofthe Federal Ru|_cs ofCivi| Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver ofservice requested by a plaintiff located m
the United States will be required to pay the expenses of scrvicc. unless the defendant shows good cause for the failure.

“Good cause" does riot include a beliefthat the lawsuit is groundless. or th.'it it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant`s property.

ll` tile waiver is signed and rcturned. you can still make these and all other defenses and ubjcctions, but you cannot object to the absence of
a summons or of service.

lf you waive service, then you must, within the time specified on the waiver form. serve an answer or a motion under Rule | 2 on the plaintiff
and file a copy with the court. By signing and returning the waiver fonn. you arc allowed more time to respond than if a summons had been scrved.

